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DeNITTIS OSEFCHEN PRINCE, P.C.
STEPHEN P. DeNITTIS, Esq.' (SD-0016)
5 Greentree Centre

525 Route 73 North, Suite 410

Marlton, NJ 08053

Telephone: 856-797-9951

FaX: 856-797-9978
sdenittisq?l.`.'denittislaw.com

 

Attorneys for Plaintiff and the [Proposed] Class
[Additional Counsel on Signature Page]

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

CANDACE KIl\/H\/IEL, individually Civil Action No.:
and on behalf of all others similarly
situated,

CLASS ACTIoN
Plaintiff,
JURY TRIAL DEMANDED

V.

FISHER-PRICE, INC., and MATTEL,
INC.,

Defendants.

 

 

Plaintiff Candace Kimmel (“Plaintiff”) brings this action against defendants

Fisher-Price, Inc. (“Fisher-Price”) and Mattel, Inc. (“Mattel” and, together With

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Fisher-Price, “Defendants”) on behalf of herself and all others similarly situated Who
purchased Fisher-Price Rock ’n Play Sleepers, and alleges as follows:
NATURE OF THE ACTION

l. The Fisher-Price Rock ’n Play Sleeper (“Rock ’n Play Sleeper”) is an
inclined infant “Sleeper” that Defendants market as suitable for all night and
prolonged sleep. HoWever, as Defendants Were recently forced to admit, the Rock
’n Play Sleeper has caused at least ten infant deaths since 2015, and, because infant
“deaths continue to occur,” the Consumer Product Safety Commission (“CPSC” “is
recommending consumers stop use of the product by three months of age, or as an
infant exhibits rollover capabilities.”l As described beloW, as infant sleep experts
uniformly agree, the Rock ’n Play Sleeper is inherently dangerous and unfit for use
as a sleeper, because the Way the Rock ’n Play Sleeper positions the baby increases
the risk of suffocation. Further, the use of the Rock ’n Play Sleeper can result in
babies developing “flat head” and “twisted neckl’ conditions, requiring costly
treatment

2. Defendants have known about these risks for as long as they have sold
the Rock ’n Play Sleeper. Among other things, the American Academy of Pediatrics

(“AAP”) and other infant sleep experts have repeatedly issued Warnings about the

 

1 https://www.cpsc.gov/Newsroom/News-Releases/Z0 l 9/CPSC-ALERT-CPSC-and-Fisher-Price-Warn-
Consumers-About-F isher-Price-Rock-N-Pla\-'-Due-to-Re ports-of-Death-When-Infants-Roll-Over-in-the-
_Product# (last visited April lO, 2019).

 

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dangers of inclined sleepers, including the Rock ’n Play Sleeper. Further, in 2011,
the Canadian and Australian governments rehised to allow Defendants to sell the
Rock ’n Play Sleeper as a “sleeper” due to its dangers Defendants have also been
sued in connection with infant deaths in the Rock ’n Play Sleeper. Nonetheless,
Defendants kept on marketing the Rock ’n_ Play Sleeper as a sleeper in the United
States, unconscionany exposing their customers’ babies to the known risk of death
and injury.
3. As stated above, on April 5, 2019, the CPSC and Fisher-Price issued a
joint news release acknowledging that ten infants have died while in the Rock ’n
Play Sleeper since 2015, and warning consumers to stop using the Rock ’n Play
Sleeper once the infant reaches three months of age or as soon as the infant exhibits
rollover capabilities2 The news release stated, in relevant part:
The Consumer Product Safety Commission (CPSC) and Fisher-Price
warn consumers about the Fisher-Price Rock ’n Play due to reports of
death when infants roll over in the product. According to medical
literature, infants typically begin rollover behaviors at 3 months. The
CPSC is aware of 10 infant deaths in the Rock ’n Play that have
occurred since 2015, after the infants rolled from their back to their
stomach or side, while unrestrained. All 10 infants were 3 months or

older.

Because deaths continue to occur, CPSC is recommending consumers
stop use of the product by three months of age, or as soon as an infant

 

2 httDS://cpsc.uov/N ewsroom/N ews-Releases/2019/ CPSC-ALERT-CPSC-and-Fisher-Price-
Warn-Consumers-About-Fisher-Price-Rock-N-Pla\-'-Due-to-Reports-of-Death-When-Infants-
Roll-Over-in-the-Product (last visited April lO, 2019).

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exhibits rollover capabilities CPSC has previously warned consumers
to use restraints in infant inclined sleep products

Fisher-Price warns consumers to stop using the product when infants
can roll over, but the reported deaths show that Some consumers are
still using the product when infants are capable of rolling and without
using the three point harness restraint

CPSC and Fisher-Price remind consumers to create a safe sleep
environment for infants, whether using a crib, bassinet, play yard, or
inclined sleeper: Never add blankets, pillows, stuffed toys, or other
items to the environment and always place infants to sleep on their
backs

The Commission voted to publish a finding that the health and safety
of the public requires immediate notice.

4. Mattel issued a press release later in the day on April 5, 2019,3 shortly
after the joint CPSC/Fisher-Price announcement, which stated in relevant part
(emphasis added):

A child fatality is an unimaginable tragedy.

Fisher-Price has a long, proud tradition of prioritizing safety as the
cornerstone of our mission. Generations of parents have trusted us for
almost 90 years to provide safe products for their children. We are there
with you from the moment you bring your child home and take our
responsibility for product safety Very seriously.

Today, the Consumer Product Safety Commission (CPSC) and Fisher-
Price have jointly issued an alert warning parents and caregivers to
discontinue use of the Rock ’n Play Sleeper when infants begin to roll
over. To ensure a safe sleep environment for infants, We remind
parents and caregivers to follow all safety Warnings included with

 

3 httr)s://news.mattel.com/news/media-statement-on-the-u-s-consumer-product-safetv-
commission-fisher-DriceR-ioint-securit\'-alert-released-on-anril-S -2019 (last visited April 10,
2019).

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the product: always use the provided restraints, always place
infants on their backs to sleep, and make sure that no pillows,
blankets or extra padding are placed in the Rock ’n Play Sleeper.
The Rock ’n Play Sleeper meets all applicable safety standards,
including those of the international standards organization, known as
ASTM International, and is certified by the Juvenile Products
Manufacturers Association (JPMA).

Fisher-Price and every one of our employees take the responsibility of
being part of your family seriously, and we are committed to earning
that trust every day.

5. Despite announcing that at least ten babies died from the use of
Defendants’ product and issuing a warning to consumers, Chuck Scothon, general
manager of Fisher-Price, issued a statement on April 5, 2019, stating that the Rock
’n Play Sleeper meets all applicable safety standards4

6. On April 8, 2019, Consumer Reports published a lengthy article entitled
Fisher-Price Rock ’n Play Sleeper Should be Recalled, Consumer Reports Says.5
The article describes the results of Consumer Reports’ investigation, which found
the Rock ’n Play Sleeper is tied to at least 32 infant deaths Consumer Reports noted
that the Rock ’n Play Sleeper “has not been recalled by Fisher-Price, part of the

children’s products giant Mattel, which had about $4.5 billion in sales in 2018. The

deaths prompted only warnings by the company and the CPSC, which does not have

 

4 https://www.cnn.com/ZO19/04/05/health/f1sher-nrice-rock-n-Dla\-'-sleeper-warninaf`index.html (last
visited April 10, 2019).

5 https://www.consumerreports.org.f`recalls/fisher-nrice-rock-n-pla\‘-sleeper-should-be-recalled-
consumer-regorts-sa\'s/ (last accessed April 10, 2019).

5

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a mandatory safety standard for infant reclined sleep products.” The article further

notes that “the number of incidents associated with the Rock ’n Play Sleeper,

combined with long-standing expert medical advice that babies should sleep on firm,

flat surfaces, raises serious safety concerns about the product.”

7.

On April 9, 2019, the AAP issued a press release calling on the CPSC

to recall the Rock ’n Play Sleeper and urging parents to stop using the Rock ’n Play

Sleepers immediately, stating in relevant part as follows (emphasis added):6

AAP urges parents to stop using the product immediately Stores should
remove the Rock ’n Play Sleeper from their shelves A warning issued
by the CPSC and Fisher-Price on April 5 did not go far enough to ensure
safety and protect infants, according to the AAP.

“Th_is product is deadly and Should be recalled immediately,” said Kyle
Yasuda, MD, FAAP, president of the American Academy of Pediatrics.
“When parents purchase a product for their baby or child, many assume
that if it’s being sold in a store, it must be safe to use. Tragically, that
is not the case. There is convincing evidence that the Rock ’n Play
inclined sleeper puts infants’ lives at risk, and CPSC must step up and
take immediate action to remove it from stores and prevent further
tragedies.”

Last week, the CPSC and manufacturer alerted consumers to stop using
the product when the infant reaches 3 months of age or is capable of
rolling over, citing 10 infant deaths that occurred in the Rock ’n Play.
The Consumer Reports article, published April 8, tied a total of 32
deaths to the Rock ’n Play, including the 10 noted in last week’s
warning

 

6 htt[)s://Www.aap.org/en-us/about-the-aaD/aan-press-room/Paues/AAP-Urges-U-S-Consumer-

Product-Safet\-'-Commission-to-Recall-Fisher-Price-Rock-n-

lO, 2019).

Plav-Slee er.as x (last visited April

 

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Consumer Reports concluded that these 32 deaths, between 2011 and
2018, included babies even younger than the 3-month threshold cited
_in the initial waming, which is alarming. The cause of death listed for
some babies was asphyxia, or the inability to breathe caused by the
babies’ position. AAP urges parents of children of all ages to
immediately stop using the Rock ’n Play.

“We cannot put any more children’s lives at risk by keeping these
dangerous products on the shelves,” said Rachel Moon, MD, FAAP,
chair of the AAP Task Force on SIDS. “The Rock ’n Play inclined
sleeper should be removed from the market immediately. lt does not
meet the AAP’s recommendations for a safe sleep environment for any
baby. Infants should always sleep on their back, on a separate, flat and
firm sleep surface without any bumpers or bedding.”

The AAP does not recommend inclined sleep products like the Rock ’n
Play, or any other products for sleep that require restraining a baby.

8. Had Plaintiff and the other members of the Class (defmed below) been
aware of the potentially fatal dangers and other risks posed by Defendants’ Rock ’n
Play Sleeper, they would not have purchased them or paid for them as much as they
did.

9. Plaintiff brings this action on behalf of herself and all other persons who
purchased the Fisher-Price Rock ’n Play Sleeper between January 1, 2009 to the
present, seeking redress under New Jersey and federal law.

JURISDICTION AND VENUE
10. The Court has jurisdiction over Plaintiff’ s claims under 28 U.S.C. §

l332(d)(2) (“CAFA”) because there are 100 or more class members; at least one

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class member is a citizen of a state that is diverse from each Defendant’s citizenship;
and the amount in controversy exceeds $5 million exclusive of interest and costs

ll. Jurisdiction is also proper in this Court pursuant to 28 U.S.C. § 1331
because Plaintiff’ s claims under the Magnuson Moss Warranty Act, 15 U.S.C. §
2301, et seq., arise under federal law, and this Court has supplemental jurisdiction
over Plaintiff’s state law claims under 28 U.S.C. § 1367.

l2. The Court has personal jurisdiction over Defendant Fisher-Price
because it has purposefully availed itself of the privilege of conducting business in
the State of New Jersey.

l3. The Court has personal jurisdiction over Defendant Mattel because it
has purposefully availed itself of the privilege of conducting business in the State of
New Jersey.

14. Venue is proper in this district under 28 U.S.C. § 1391 because many
of the acts and transactions giving rise to this action, including Plaintiff’s purchase
of her Rock ’n Play Sleeper, occurred in this District.

PAd{TIES

15. Plaintiff Candace Kirnmel is a resident of Mercer County, New Jersey.

She purchased a Rock ’n Play Sleeper for her infant daughter in in about September

2017.

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16. Defendant Fisher-Price, Inc. is a Delaware corporation with its principal
place of business in Erie County, New York. Defendant Fisher-Price manufactures
and markets products for infants and preschool children to consumers throughout
the United States, including in the state of New Jersey.

17. Defendant Mattel, Inc. is a Delaware corporation with its principal place
of business in El Segundo, California. Fisher-Price is a wholly owned Subsidiary of
Defendant Mattel, Inc. Mattel manufactures and markets products for infants and
children throughout the United States, including in the state .of New Jersey.

LCTS
T he American Academy of Pediatrics Recommendations

18. Defendants introduced the Rock ’n Play Sleeper to the U.S. Market in
2009. The Rock ’n Play Sleeper has a collapsible name which supports a fabric
hammock with tall sides, forcing the infant into a reclined position. The different
models of the product share this same basic design. The Rock ’n Play Sleeper is
extremely popular With parents of infants, because the product can also be used to
rock the baby and lulling it to sleep.

19. In 1992, the American Academy of Pediatrics (“AAP”) released its

recommendation that babies should be placed on their backs to sleep. Subsequently,

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while deaths from sudden infant death syndrome (SIDS) decreased, infant deaths
from other causes including suffocation, entrapment and asphyxia did not.7

20. In November 2005, the AAP issued a Policy Statement - T he Changing
Concept ofSudden Infant Death Syndrome: Diagnostz`c Codz'ng Shifts, Controversz`es
Regarding the Sleeping Envz'ronment, and New Varz`ables to Consz`der in Reducing
Risk- expanding the guidelines and recommendations on safe sleep for babies8 The
recommendations included:

¢ “Back to_sleep: Infants should be placed for sleep in a supine
position (wholly on the back) for every sleep.”

¢ Use a firm sleep surfaces Soft materials or objects...should not be
placed under a sleeping infant. A firm crib mattress, covered by a
sheet, is the recommended sleeping surface.”
21. In October 2011, the AAP issued an updated Policy Statement - SIDS
and Other Sleep-Related Infant Deaths.' Expansz`on of Recommendaz‘ions for a Safe
Infant Sleeping Envz`ronment _ further expanding the guidelines and

recommendations on'safe sleep for babies 9 The recommendations included:

0 Infants should be placed “back to sleep for every sleep” in the supine
position, wholly on his or her back. The AAP noted that “[t]he
supine sleeping position does not increase the risk of choking and
aspiration in infants, even those with gastro-esophageal reflux.”

 

7 https://www.aan.or;_rfen-us/about-the-aap/aap-press-room/oages/AAP-Expands-GuidelineS-for-
Infant-Sleen-Safet\=-and-SIDS-Risk-Reduction.aspx (last visited April 10, 2019).

8 http:// nediatrics.aappublications.org/content/ l 16/5/ 1245 (last visited April 10, 2019).
9 httns://pediatrics.aappublicationsorg»‘content/ 128/5/ 1030 (last visited April 10, 2019).

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l “Elevating the head of the infant’s crib while the infant is supine is
not recommended” because “it might result in the infant
sliding. . .into a position that might compromise respiration.”

0 “Use a firm sleep surface - A firm crib mattress covered by a fitted
sheet, is the recommended sleeping surface to reduce the risk of
SIDS and suffocation.”

0 “Soft materials . .should not be placed under a sleeping infant.”

0 “Sitting devices, such as car safety seats, strollers, swings, infant
carriers, and infant slings, are not recommended for routine sleep.”

0 “If an infant falls asleep in a sitting device, he or she should be
removed nom the product and moved to a crib or other appropriate
flat surface as soon as is practical.”

v “Avoid commercial devices” like “wedges, positioners, special
mattresses and special sleep surfaces There is no evidence...that
they are safe.”

22. In November 2016, the AAP issued a further updated Policy Statement
- SIDS and Oz‘her Sleep-Related Infant Deaths: Updated 2016 Recommendations
for a Safe Infant Sleepz`ng Envz`ronment -. reaffirming and further developing the
guidelines and recommendations on safe sleep for babies10 The recommendations
included:

o “Recommendations for a safe sleep environment include supine

positioning, the use of a firm sleep surface...and the avoidance of
soft bedding[.]”

 

10 hl1ps://pediatrics.aappublications.orafcontent/l 3 8/5/e2016293 8 (last visited April 10, 2019).

ll

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f “[M]anufacturers should follow safe sleep guidelines in their
messaging and advertising.”

v “Avoid the use of commercial devices that are inconsistent with safe
sleep recommendations.”

0 Infants “should be placed for sleep in a Supine position (wholly on
the back) for every sleep by every caregiver until the child reaches
l year of age.... The Supine position does not increase the risk of
choking and aspiration in infants, even those with gastroesophageal
reflux.”

0 “Elevating the head of the infant’s crib is ineffective in reducing
gastroesophageal reflux and is not recommended; in addition,
elevating the head of the crib may result in the infant sliding to the
foot of the crib into a position that may compromise respiration.”

0 “[T]he best evidence suggests that infants should continue to be
placed supine until l year of age.... Because rolling into soft
bedding is an important risk factor for SUID after 3 months of age,
parents and caregivers should continue to keep the infant’s sleep
environment clear of soft or loose bedding.”

¢ “Infants should be placed on a firm sleep surface (eg, mattress in a
safety-approved crib) covered by a fitted sheet with no other
bedding or soft objects to reduce the risk of SIDS and suffocation.”

¢ “Soft materials . .should not be placed under a sleeping infant.”

» “Sitting devices, such as car seats, strollers, swings, infant carriers,
and infant slings, are not recommended for routine sleep in the
hospital or at home, particularly for young infants..

0 “lf an infant falls asleep in a sitting device, he or she should be
removed from the product and moved to a crib or other appropriate
flat surface as soon as is safe and practical.”

0 “Avoid the use of commercial devices that are inconsistent with safe
sleep recommendations.”

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0 “Media and manufacturers should follow safe sleep guidelines in
their messaging and advertising Media exposures (including movie,
television, magazines newspapers and Web sites), manufacturer
advertisements and store displays affect individual behavior by
influencing beliefs and attitudes Media and advertising messages
contrary to safe sleep recommendations may create misinformation
about safe sleep practices “

23. The Rock ’n Play Sleeper does not allow the baby to sleep in a supine
position as recommended'by the 2005 AAP policy statement, and does not comply
with the recommendation that “[s]oft materials...should not be placed under a
Sleeping infant. A firm crib mattress covered by a sheet, is the recommended
sleeping surface.”11 Defendants did not modify the design of the Rock ’n Play
Sleeper even after the AAP issued its 201 1 policy statement and 2016 updated policy
statement expanding its recommendations that infants’ heads should not be elevated,
that sitting devices are not recommended for routine sleep, and that wedges and
positioners should be avoided.

Canada and Australia Refuse to Let Defendants Market the Product as a Sleeper

24. In January of 2011, the Australian Queensland Government Office of
Fair Trading wrote to Defendants’ Australian affiliate, informing them of their

concern that Defendants’ marketing of the Rock ’n Play Sleeper as a “sleeper” was

contrary to accepted best practices that this type of product should not be used for

 

11 httn:// pediatrics.aanpublications.org:'content/ 1 16/5/1245 (last visited April 10, 2019).

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infant bedding. It refused to permit Defendants to sell the product in Australia unless
they removed all references to prolonged or overnight sleeping. The agency was
particularly concerned that a newborn using a Rock ’n Play Sleeper could succumb
to positional asphyxia.

25. In February of 2011, Health Canada wrote to Defendants’ affiliate in
Canada expressing concerns that the Rock ’n Play Sleeper failed to comply with
recommendations by Health Canada, the Public Health Agency of Canada and the
Canadian Pediatric Society that babies sleep on a firm and flat surface.

26. In March of 2011, Defendants’ affiliate in Australia provided new box
graphics to the Queensland Fair Trading Office eliminating references to sleeping
and overnight and proposing to call the product a “Soother” instead of a “Sleeper.”
Rather than change their marketing, however, Defendants decided to withdraw the
product from sale in Australia..

27. According to Consumer Reports, the Rock ’n Play is available in
Canada but is not called a “sleeper.” Defendants market and sell it in Canada as the
“Rock ’n Play Soothing Seat.”

28. Defendants, however, did not change the product’s name in the United
States, and continued to market the Rock ’n Play Sleeper as a sleeper as a “sleeper”
for overnight use or prolonged sleep

Other Warnings to Defendants About the Rock ’n Play Sleeper

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29. Pediatricians have also warned Fisher Price about the dangers of the
Rock ’n Play Sleeper. In 2012, pediatrician Dr. Natasha Burgert wrote an open letter
to Fisher-Price,12 stating that:

As a pediatrician and parent consumer, I believe it irresponsible to

promote the Rock n ’ PlayTM Sleeper as an [sic] safe, overnight sleeping

option for infants. By continuing to do so, you are putting babies at

risk.

The Rock n’ PlayTM Sleeper should not be used for extended, unobserved

infant sleep for the following reasons First, design features of this product

are known to increase the risk of sudden infant death syndrome (SIDS).

Second, I have personally seen infants with brachycephaly/plagiocephaly

and torticollis as a direct result of using this product. Finally, infants are

often left with poor sleep habits that continue long beyond the product’s

use.

1. The Rock n’ PlayTM Sleeper is not a safe place for overnight,

unobserved infant sleep.

The current American Academy of Pediatrics (AAP) guidelines for the

prevention of SIDS includes placing baby on a firm sleep surface without

extra padding, pillows, or loose items The Rock and PlayTM Sleeper does

 

12 https://www.kckidsdoc.com/kc-kids-doc/dear-fisher-price

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not adhere to these guidelines Specifically, the bottom is not firm. And,
some models include padded inserts that can move and shift during sleep.
ln my opinion, this product is a portable infant seat with attached sides,
and should be categorized and marketed as such. I am concerned that
infants in the “sleeper” may be at risk of asphyxiation or suffocation if
continued to be used as a place for ovemight, unobserved infant sleep.

2. The Rock n’ PlayTM Sleeper puts infants at risk for deformities.
When an infant is placed in a sleep environment as suggested by the AAP,
infants are allowed natural body movements during sleep. They are able to
freely move their head from side to side, and move their arms and legs to
achieve different comfort positions throughout the night.

As a consequence to babies being restricted to one sleep position for
multiple hours per day, infants using the Rock n’ PlayTM Sleeper are
developing plagiocephaly/brachycephaly (“flat head”) and torticollis.
These are significant diagnoses potentially requiring expensive head-
molding helmets and physical therapy.

My observational experience is not unique. There are currently numerous
complaints online that should not be ignored. For example, one mother

writes:

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We were finally referred to a specialist because we kept voicing our
concerns with our pediatrician and it turns out our son was diagnosed
with severe brachycephaly and moderate plagiocephaly. We are now
getting him fitted for a $3,800 helmet that he’ll have to wear 23 hrs each
day. He also has torticollis, which is the tightening of the neck muscles,
caused by the way he favored one side in the sleeper. He has to do daily
stretches which he hates, but hopefully he won 't need physical therapy. 1
truly believe that this sleeper caused these problems and I would NOT
recommend this product to anyone...it's just not worth the risk.

-From Product Review on Amazon. com

Frequent tummy time during waking hours, and holding babies in upright
positions during play time, are not enough to counter the negative effects
in head and body positioning that 16 hours a day in this product Will
produce.

Lying on a flat, firm surface is a better option for healthy development of
our infants; and should be preferred to the physically restrictive, overnight

sleep in the Rock n’ PlayTM Sleeper.

3. The Rock n’ PlayTM Sleeper hinders the development of infant

sleep habits

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Learning good nighttime habits, including the ability to self-soothe, is a
significant part of a child’s growth and development Pattems surrounding
the sleep environment begin at very early ages. Specifically, foundational
patterns of sleep-initiation, environmental experience, and nighttime
expectations often begin to be established by 4 months ofage.

In my experience, parents who have used the Rock n’ PlayTM Sleeper face
unexpected challenges once their baby outgrows this space. Families are
suffering from many sleepless nights while their older infant re-learns how
to sleep, on their backs, in their long-term sleep environment
30. Dr. Burgert’s letter also Stated:

The Rock n’ PlayTM Sleeper does not allow body movement to occur
during sleep. The soft-bottomed “sleeper” cradles the infant during
sleep and secures this position with an included restrictive safety
harness These design elements confine an infant in only one position
for the entire duration of sleep (up to 16 hours a day).

31. In 2013, pediatrician Dr. Roy Banoroch echoed Dr. Burgert’s concerns

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in an email exchange with Defendant Fisher-Price. He wrote, for example, that

“The Newborn Rock ’n Play Sleeper does not keep a baby wholly on the back, but

 

13 https://pediatricinsider.wordnress.com/2013/04/29/the-fisher-nrice-rock-n-nla\-'-sleeper-is-not-
for-sleepin:_'.-'r (last visited April 10, 2019).

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rather in an inclined position. It is not a safe way for babies to sleep.” He noted that
the AAP guidelines provide that “[s]itting devices, such as car safety seats, strollers,
swings, infant carriers, and infant slings, are not recommended for routine sleep in
the hospital or at home,” and advised Fisher Price that, “[t]hough this sentence
doesn’t specifically mention your product, the Newborn Rock ’n Play Sleeper is
shaped like the devices in this category, and is therefore not recommended for sleep.”
Dr. Banoroch reported that a Fisher-Price representative responded, stating, “Thank
you for your inquiry and comments We did receive your email on February 7. 2013.
We have provided these comments to the appropriate people within Fisher-Price.
The Rock ’n Play Sleeper complies with all applicable standards.”
Infant Deaths and Injuries

32. In November 2018, in an article titled, “Inclined sleepers like the
Fisher-Price Rock ’n Play have been involved in at least 30 deaths reported to the
Consumer Product Safety Commission since 2005 ,” The Wall Street Journal
reported that “[t]he Consumer Product Safety Commission has received reports of
at least 30 deaths and more than 700 injuries since 2005 in connection with these
inclined sleepers,”

33. The April 8, 2019 Consumer Reports article reported on an infant death
in 2013 in the Rock ’n Play Sleeper:

There is, for example, the mother in Hidalgo County,
Texas, who placed her 2-month old daughter on her back

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for a night’s sleep on Oct. 19, 2013, according to a lawsuit
filed by the family against Fisher-Price. At 4 a.m., when
the mother checked, all was well, but by 7 a.m., the baby
had stopped breathing Her head was tilted to the side with
her chin on her shoulder, compressing her airway. She was
pronounced dead at the scene from positional asphyxia, or
an inability to breathe caused by her position.14

34. The Consumer Reports article also described a “close call” with another

infant in a Rock ’n Play Sleeper:

[()]n July 25, 2014, a 7-week-old boy was placed in a Rock
’n Play Sleeper while his grandmother was in the room,
according to a lawsuit filed against Fisher-Price that was
ultimately dismissed.

The grandmother, J an Hinson, of Greenville, S.C., says
she looked at her grandson and saw he was “cocked over
all the way, and he was blue and lifeless. lt was absolutely
awful.” She got the infant breathing again, and after a stay
in the hospital, he was released15

35. The parent of an infant who died on January 6, 2018 made the following

report to the CPSC:l6

My 6 month old son was put down for a nap in the Fisher
Price Rock n Play. During the time of his nap, he rolled
over in the Rock N Play and silently died. The Rock N
Play is sold as a sleeper and is marketed for “great
overnight sleep”. My son was 18 pounds well under the
limit of 25 pounds that the Rock N Play provides as a
weight limit for use. An average 9 month old boy is 25

 

14 https://www.consumerreports.ora/“recalls/fisher-price-rock-n-pla\-'-sleeper-should-be-recalled-
consumer-reports-sa\'s/ (last visited April 10, 2019).

15 hl.lps://www.consumerreports.org.f`recalls/fisher-price-rock-n-pla\-'-sleeper-should-be-recalled-
consumer-reports-sa\'s/ (last visited April 10, 2019).

16 https://safemroductsaov/Viewlncident/l728157?m0d=article inline (last visited April 10,
2019).

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pounds, average for a girl is 12 months old at 25 pounds
Fisher Price has been notified of infant deaths due to their
product and will still not recall it This product can not be
labeled as a sleeper or for “great overnight sleep”. My son
was a beautiful, healthy baby and only died because of the
Rock N Play and the false sense of security they provide
with their false and UNSAFE claims of the Rock N Play
being used for safe sleep. The only place for safe sleep for
an infant is a flat surface. This death trap needs to be
recalled and labeled as a SUPERVISED PLAY
PRODUCT so no other family has to lose their child like
l have.

36. In addition to deaths and close calls due to asphyxiation, parents have
also reported their babies developing flat head and twisted neck (torticollis)
syndrome. For example, one consumer posted on Amazon on March 16, 2018 that
“This product is know[n] to give babies flat heads!! Just got out of the Cranial
Technology office with our 4 mo. old who needs to wear a helmet The Dr. said rock
n plays keep them in business” (Emphasis supplied.) Fisher Price responded to this
review, writing:

We recommend everyone to speak with their pediatrician
before using one of our Rock ’n Play Sleepers, to see if
your baby is- a good fit for it. We’re very concerned about
the situation you’ve described. One of our Consumer
Services specialists would like to speak with you to get all
the information we need to take action. Please call us as
soon as possible at 1-888-253-4303, between the hours of
9:00 a.m. and 6:00 p.m. EST, Monday - Friday.

T he Reaction to Defendants’ Belated Admission of Known Infant Deaths and
The_ir “Warnings” to Consumers

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37. As set forth above, on April 5, 2019, Fisher-Price and the CPSC issued
a joint press release disclosing to the public the dangers of the Rock ’n Play Sleeper
and warned consumers “about the Fisher-Price Rock ’n Play due to reports of death
when infants roll over in the product 17
38. While the CPSC and Fisher-Price recommended that consumers stop
using the Rock ’n Play when an infant reaches three months of age, or as soon as an
infant exhibits rollover capabilities as set forth above, the AAP recommends that
inclined sleepers like the Rock ’n Play Sleeper should never be used for overnight
or prolonged sleep for any infants including newborns whatever the age. Thus after
the announcement by CPSC and Fisher-Price, the AAP stated:
We don’t recommend that babies are placed to sleep with
their heads elevated because that is a position that would
be subject to accidental suffocation [and] strangulation in
bed,” said Feldman-Winter of the AAP. Instead, the AAP
says that for prolonged or nighttime sleep, babies should
be put on their backs unrestrained, alone, on a flat, firm

surface, such as a mattress covered by a fitted sheet in a
bare crib, bassinet, or play yard.18

 

17 https://www.c[gsc. gov/Newsroom/NeWs-Releases/Z0 19/CPSC-ALERT-CPSC-and-Fisher-Price-Warn-
Consumers-About-Fisher-Price-Rock-N-Plav-Due-to-Regorts-of-Death-When-Infants-Roll-Over-in-the-

Product (last visited April 10, 2019).

18 hrrns://www.consumerreports.orgfrecalls/fisher-price-rock-n-Dla\'-sleeper-should-be-recalled-
consumer-reports-sa\ s/ (last visited April 10, 2019).

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39. Further, while the CPSC and Fisher-Price suggest that parents using the
restraints on their babies when in the Rock ’n Play Sleeper renders the product safer,
the AAP’s advice is the opposite:

[T]he American Academy of Pediatrics says it does not
recommend products for routine sleep that require
restraining a baby, especially if that product also rocks
“T'o [fasten] a baby down to a surface and then rock the
baby is not consistent with our recommendations” Said
Lori Feldman-Winter, M.D., a member of the AAP task
force on Sudden Infant Death Syndrome (SIDS) and a

professor of pediatrics at Cooper Medical School of
Rowan University in Camden, N.J.19

Defendants ’ Deceptive Advertising and Marketing

40. Notwithstanding the AAP’s recommendations that babies sleep supine,
that their heads not be elevated, that they sleep on a firm surface without soft
materials and that sitting devices such as car seats strollers swings infant carriers
and infant slings are not recommended for routine sleep, Defendants marketed the
Rock ’n Play Sleeper as suitable for all night sleep for babies

41. Defendants deceptively advertise the Rock ’n Play Sleeper as suitable
for overnight sleep for babies online and in-store. Online advertising appears on the

Fisher-Price website, where the product is available for purchase, as well as other

 

19 https://www.consumerreports.orafrecalls/fisher-price-rock-n-ola\-'-sleener-should-be-recalled-
consumer-reports-sa\ s/ (last visited April 10, 2019).

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websites where the product is sold (such as Amazon.com). In-store advertising
appears in the numerous stores where the Rock ’n Play Sleeper is sold.

42. Defendants’ deceptive advertising of the Rock ’n Play Sleeper starts
with its very name: “Sleeper.” By naming the product as a “Sleeper,” Defendants
mislead consumers into believing that the product is a safe and suitable place for
babies to sleep. A reasonable consumer would assume the Rock ’n Play Sleeper’s
design is consistent with the applicable guidelines and recommendations about how
babies should be safely placed to sleep.

43. The principal means of in-store advertising is on the box in which the
product is packaged The boxes prominently touted that the product is suitable for
all-night sleep and continued to do so even after the AAP 2011 and 2016 Policy
Statements and expanded recommendations

44. The marketing statements on the packaging are inconsistent with the
AAP’s guidelines and recommendations For example: Defendants’ statements on
the packaging that “Baby' can sleep at a comfortable incline all night long!”,
“Comfortable moline for babies that need it”, and “Incline or Recline - Choose the
position that baby likes best,” are contrary to the AAP’s guidelines and

recommendations that babies sleep supine and that their heads not be elevated.20

 

20 A baby may prefer to be inclined or reclined, but sleeping in an inclined or reclined position is
inconsistent with AAP recommendations because it increases the risk of suffocation.

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45. Defendants’ statement on the packaging that “Extra-plush fabrics for
extra-comfy sleep” is inconsistent With the AAP’s guideline and recommendation
that soft materials should not be placed under a sleeping infant

46. Defendants’ statements on the packaging that the product is a
“Nighttime sleeper and playtime seat!” and an “Adjustable seat for all-night sleep!”
are inconsistent with the AAP’s guideline and recommendation that sitting devices
are not recommended for routine sleep. Similar statements appeared on all of
Defendants’ packaging for the Rock ’n Play Sleeper at all relevant times

47. Defendants’ marketing materials on its website are likewise
inconsistent with the AAP’s guidelines and recommendations touting it as a
“Nighttime sleeper and playtime seat in one! This inclined sleeper rocks! The
supportive, angled seat back keeps baby elevated for playtime and inclined sleep
(the way some babies sleep best!), to help baby sleep alllll [sic] night long.” 21

48. Similar claims are made on other websites where the product is sold,

including Amazon.com, where the product is described as “an inclined baby seat that

helps little ones sleep all naptirne or nighttime long,” touting that it is “a Sleeper &

 

21 hans://fisher-nrice.mattel.com/shon/en-us/t`p/moonlight-meadow-deluxe-newborn-rock-n-
pla\-'-sleeper-chx77 (last visited April 10, 2019).

25

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playtime seat in one”, and saying that the parent and child “both could be sleeping
in not time.”22

49. Defendants’ deceptive marketing of the product as a “Sleeper” is a
material factor in a consumer’s decision to purchase the product Had Defendants
not marketed the product as a ‘-‘Sleeper” suitable for overnight sleep, or had
Defendants placed appropriate warnings on their marketing materials that using the
product for overnight sleep was inconsistent with medical guidelines and
recommendations because it increased the risk of death by asphyxia - that would
likewise be a material factor in a consumer’s decision whether to purchase the
product

50. However, Defendants’ deceptive marketing of the product as a
“Sleeper” when it is inconsistent with the applicable medical guidelines and
recommendations not only exposed purchasers’ children to more risk than was

represented, but also induced purchasers to pay a higher price than they would have

otherwise paid for the product were it not so misleadingly advertised.

 

22 hllps://www.amazon.com/Fisher-Price-Deluxe-Sleeper-Snugap_up_t_)\'-
Dreams/dp/BOILTHZ5SO/ref=sr 1 5 s it?s=babv-

nroducts&ie=UTFS&qid=l 523 996652&sr=1 -5&kev\\-'ords=rock+n+pla\-'+sleeper (last visited
April 10, 2019).

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T()LLING OF THE STATUTE OF LIMITATIONS

Contin uin g Act Tolling

51. Beginning in 2009, Defendants continuously marketed and sold the
dangerous Rock ’n Play Sleepers to unsuspecting parents and caregivers of infants
They continuously represented these inclined hammocks as safe environments for
all night or prolonged infant sleep. By making these false representations and
failing to disclose that the Rock ’n Play Sleepers were defectively designed and
exposed infants to great risk of injury and death, Defendants engaged in a continuing
wrong sufficient to render inapplicable any statute of limitations that Defendants
might seek to apply.

52. Defendants’ knowledge of the defects is evidenced by, inter alia:
numerous complaints by consumers of injury and death (to some of which they
responded); by warnings from the AAP and major consumer groups by a lawsuit
against them for an infant’s death; and by Canada’s and Australia’s refusal to allow
them to sell the device as a sleeper.

53. Thus, Defendants had continuing knowledge of the dangers posed by
the Rock ’n Play Sleepers yet continued to market and sell them as safe
environments for overnight and prolonged sleep. Plaintiff’s and other Class
members’ claims are not time barred.

Fraudulent Concealment Tolling

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54. Defendants had a duty to disclose to Plaintiff and the Class members
the true quality and nature of the Rock ’n Play Sleepers that the Rock ’n Play
Sleepers had a uniform defect; and that the Rock ’n Play Sleepers pose a safety
concem, and reduce the intrinsic and resale value of the vehicles

55. This duty arose, inter alia, under due to their overt representations that
the'Rock ’n Play Sleepers were safe for overnight use.

56. Defendants have known at all relevant times of the risks that its Rock
’n Play Sleepers pose to infants Prior to selling them, Defendants knew or should
have known about the AAP’s 2005 recommendations concerning safe sleep, which
state that babies should sleep flat on their back in an empty bassinet or crib. Their
bases for knowledge increased by 2011, when the AAP expanded on those warnings
and when Canada and Australia prohibited them from selling them as “sleepers”
and increased again over the following years as pediatricians wrote to them and they
were sued due to an infant’s death.

5 7. Despite their knowledge of the defective design of the product,
Defendants failed to disclose and concealed this material information from Plaintiff
and other Class members and instead continue to market the Rock ’n Play Sleepers
as safe for overnight and prolonged infant sleep.

58. The purpose of Defendants’ concealment of the dangers was to prevent

Plaintiff and other Class members from seeking redress

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59. Plaintiff and the other Class members justifiably relied on Defendants
to disclose the true nature of the products they purchased, because that defect was
not discoverable by Plaintiff and the other Class members through reasonable
efforts

60. Any applicable statute of limitations has been tolled by Defendants’
knowledge, active concealment and denial of the facts alleged herein, which
behavior was ongoing
Discovery Rule Tolling

61. Plaintiff and other Class members through the exercise of reasonable
diligence, could not have discovered Defendants’ wrongdoing, prior to the Wall
Street Journal’s November 2018 article concerning the many deaths and injuries that
occurred due to the use of inclined sleepers including the Rock ’n Play Sleepers that
Defendants were concealing and misrepresenting dangerous defects in the Rock ’n
Play Sleepers and the risks that were posed by those defects

62. Plaintiff and the other Class members could not have reasonably
discovered, and could not have known of facts that would have caused a reasonable
person to suspect, that Defendants knowingly failed to disclose material information
within its knowledge about a dangerous defect to consumers worldwide.

63. As such, no potentially relevant statute of limitations should be applied.

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Estoppel

64. Defendants were under a continuous duty to disclose to Plaintiff and the
other members of the Class to disclose the facts that it knew about the dangerously
defective design of the Rock ’n Play Sleepers

65. Defendants knowingly, affirmatively, and actively concealed the true
nature, quality, and character of the Rock ’n Play Sleepers from Plaintiff and other
members of the Class

66. Thus Defendants are estopped from relying on any statutes of
limitations in defense of this action.

CLASS ACTION ALLEGATIONS

67. Plaintiff brings this class action pursuant to Rule 23(b)(2) and/or Rule
23(b)(3) of the Federal Rules of Civil Procedure on behalf of herself and on behalf
of a nationwide class (the “Nationwide Class”) defined as:

All persons who purchased a Fisher-Price Rock ’n Play Sleeper in the
United States from January 1, 2009 to the present

68. Plaintiff also seeks certification of a class of New Jersey purchasers
(the “New Jersey Class”) defined as:

All persons who purchased a Fisher-Price Rock ’n Play Sleeper in New

Jersey from January 1, 2009 to the present

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69. Excluded from the Nationwide Class and the New Jersey Class
(together, the “Class”) are Defendants and their affiliates parents subsidiaries
employees officers agents and directors Also excluded is any judicial officer
presiding over this matter and the members of their immediate families and judicial
staff.

70. Certification of Plaintiff" s claims for Class-wide treatment is
appropriate because Plaintiff can prove the elements of her claims on a Class-wide
basis using the same evidence as would be used to prove those elements in individual
actions alleging the same claims

71 . Numerosity_F ederal Rule of Civil Procedure 23 (a) (1). The members
of the Class are so numerous that joinder of all Class members would be
impracticable Plaintiff is informed and believes and on that basis alleges that the
Class contains many thousands of members The precise number of Class members
is unknown to Plaintiff.

72. Commonality and Predominance_F ederal Rule of Civil Procedure
23('a)(2) and 23(b)(3). Common questions of law and fact exist as to all Class
members and predominate over questions affecting only individual Class members

Such common questions of law or fact include, inter alia:

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a. Whether Defendants’ claims about the Rock ’n Play Sleeper set
forth above being suitable for prolonged or overnight sleep are reasonably likely to
deceive.

b. Whether Defendants engaged in unfair and/or deceptive
advertising in marketing the product as a “Sleeper” that was suitable for prolonged
or overnight sleep.

c. Whether Defendants’ misconduct constitutes a breach of the
express warranty that exists between Defendants and Plaintiff and the other members
of the Class

d. Whether Defendants have been unjustly enriched.

e. Whether Defendants engaged in deceptive advertising

f. Whether Plaintiff and the members of the Class have been injured
by Defendants’ misconduct

g Whether Plaintiff and the members of the Class are entitled to
relief, and the amount and nature of such relief.

73. Defendants engaged in a common course of conduct giving rise to the
legal rights sought to be enforced by Plaintiff, on behalf of herself and other Class
members Similar or identical common law violations business practices and

injuries are involved. Individual questions if any, pale by comparison, in both

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quality and quantity, to the numerous common questions that predominate in this
action.

74. Typicality - Federal Rule of Civil Procedure 23(a)(3). Plaintiff’ s
claims are typical of the claims of the other members of the Class because, inter alia,
all Class members were injured through the uniform misconduct described above,
and all Class members were subject to Defendants’ deceptive statements including
deceptive claims that accompanied each and every Rock ’n Play Sleeper that was
sold concerning its suitability for prolonged or overnight sleep. Plaintiff is advancing
the same claims and legal theories on behalf of herself and all members of the Class

75. Adequacy of Representation - F ederal Rule of Civil Procedure
23(a)(4). Plaintiff will fairly and adequately protect the interests of the members of
the Class Plaintiff has retained counsel experienced in complex consumer class
action litigation, and Plaintiff intends to prosecute this action vigorously. Plaintiff
has no adverse or antagonistic interests to those of the Class

76. Insufjiciency of Separate Actions-Federal Rule of Civil Procedure
23(b) (2). Fisher-Price has acted in a manner that applies generally to the Class so
that relief is appropriate respecting the Class as a whole. The Class thus satisfies the
requirements of Fed. R. Civ. P. 23(b)(2).

77. Superiority_F ederal Rule of Civil Procedure 23 (b) (3). A class action

is superior to any other available means for the fair and efficient adjudication of this

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controversy, and no unusual difficulties are likely to be encountered in the
management of this class action. The damages or other financial detriment suffered
by Plaintiff and the other Class members are relatively small compared to the burden
and expense that would be required to individually litigate their claims against
Defendants so it would be impracticable for Class members to individually seek
redress for Defendants’ wrongful conduct Even if Class members could afford
individual litigation, the court system could not Individualized litigation creates a
potential for inconsistent or contradictory judgments and increases the delay and
expense to all parties and the court system. By contrast, the class action device
presents far fewer management difficulties and provides the benefits of a single
adjudication, economy of scale, and comprehensive supervision by a single court
COUNT I
BREACH OF THE NEW JERSEY CONSUMER FRAUD ACT, N.J.S.A.
56:8-1, et seq.
(On Behalf of the New Jersey Class)
78. Plaintiff repeats and incorporates by reference all preceding paragraphs
as if fully set forth herein.

79. The New Jersey Consumer Fraud Act (“NJ CFA”) clearly applies to all

sales of Rock ’n Play Sleepers in New Jersey.

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80. The NJ CFA was enacted to protect consumers against sharp and
unconscionable commercial practices by persons engaged in the sale of goods or
services See Marascio v. Campanella, 298 N.J. Super. 491, 500 (App. Div. 1997).

81. The NJ CFA is a remedial statute which the New Jersey Supreme Court
has repeatedly held must be construed liberally in favor of the consumer to
accomplish its deterrent and protective purposes See Furst v. Einstein Moomjy,
182 N.J. 1, 11-12 (2004) (“The Consumer Fraud Act is remedial legislation that we
construe liberally to accomplish its broad purpose of safeguarding the public.”).

82. With regard to the NJ CFA, “[t]he available legislative history
demonstrates that the Act was intended to be one of the strongest consumer
protection laws in the nation.” New Mea Const. Corp. v. Harper, 203 N.J. Super.
315, 319 (App. Div. 1986).

83. F or this reason, the “history of the Act is one of constant expansion of
consumer protection.” Kavky v. Herballife Int’l of Am., 359 N.J. Super. 497, 504
(App. Div. 2003).

84. N.J.S.A. 56:8-2 of the NJ CFA prohibits “unlawf`ul practices,” which
are defined as:

The act use or employment of any unconscionable commercial

practice, deception, fraud, false pretense, misrepresentation, or the

knowing, concealment suppression, or omission of any material fact

with intent that others rely upon such concealment suppression or

omission whether or not any person has in fact been misled, deceived
or damaged thereby.

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85. Rock ’n Play Sleepers are “credence good[s],” because their properties
and purported benefits cannot be independently assessed or verified by the consumer
at the time of purchase and such properties and benefits are made known to
consumers only through the information provided on the labels by the products’
manufacturer and distributor. See Lee v. Carter-Reed Co., L.L. C., 203 N.J. 496, 522
(2010).

86. The New Jersey Supreme Court in Lee, 203 N.J. at 522, spoke regarding
the relationship between dishonest product labeling and credence goods stating: “A
rational consumer does not randomly take a bottle of pills off a shelf and then
purchase it without reading the packaging and labeling.”

87. In order to state a cause of action under the NJ CFA, a plaintiff does not
need to show reliance by the consumer. See Varacallo v. Mass. Mut. Life Ins. Co.,
332 N.J. Super. 31, 43, 752 A.2d 807 (App. Div. 2000); Gennari v. Weichert Co.
Realtors, 148 N.J. 582, 607-608, 691 A.2d 350 (1997) (holding that reliance is not
required in suits under the NJ CFA because liability results from “misrepresentations
whether ‘any person has in fact been misled, deceived or damaged thereby”’).

88. Rather, the NJ CFA requires merely a causal nexus between the false
statement and the purchase, not actual reliance. See Lee, 203 N.J. at 522 (“It bears
repeating that the CFA does not require proof of reliance, but only a causal

connection between the unlawful practice and ascertainable loss.”).

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89. The purchase of a credence good, where the label on the product
contains misrepresentations of material fact by itself, establishes a presumption of
a causal nexus under the NJ CFA. See Lee, 203 N.J. 496.

90. By the acts alleged herein, Defendants have violated the NJ CFA.

91. Specifically, Defendants have made identical, false, written
misstatements of affirmative fact to Plaintiff and each class member on the box of
and in the marketing for each Rock & Play Sleeper sold in New Jersey, as previously
described in detail herein - i.e., that the products were “sleepers” safe for overnight
or prolonged sleep.

92. These statements were false when made and Defendants knew that these
statements were false when made.

93. As a result of these false, written, affirmative misstatements of material
fact Plaintiff and each class member has suffered an ascertainable loss

94. Specifically, Plaintiff and each class member have been deprived of the
benefit of the promised bargain - a valid measure of “ascertainable loss” under the
NJ CFA according to the New Jersey Supreme Court and New Jersey Appellate
Division - in that Plaintiff and each class member received something less than what

was represented by Defendants on their products’ boxes and in their other marketing

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COUNT II
NEW JERSEY TRUTH IN CONSUMER CONTRACT, WARRANTY
AND NOTICE ACT N.J.S.A. 56:12-14, et seq.
(On Behalf of the New Jersey Class)

95. Plaintiff repeats and incorporates by reference all preceding paragraphs
as if fully set forth herein.

96. Plaintiff and each the class member are “consumers” within the
meaning ofN.J.S.A. 56:12-15 and 16.

97. Defendants are “sellers” within the meaning of N.J.S.A. 56:12-15 and
1 6.

98. The boxes in which the Rock ’n Play Sleeper are sold as well as other
marketing by Defendants for the Rock ’n Play Sleepers as described herein constitute
both a consumer “notice” and “warranty” within the meaning of N.J.S.A. 56:12-15
and 16.

99. By the acts alleged in detail herein, Defendants have violated N.J.S.A.
56:12-15 and 16 because, in the course of Defendants’ business Defendants have
displayed and/or offered written consumer notices and warranties to Plaintiff and
each class member that contained provisions which violated their clearly established
legal rights under New Jersey state law, within the meaning of N.J.S.A. 56:12-15
and 16.

100. Specifically, the clearly established rights of Plaintiff and the class

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under state law include the right not to be subjected to unconscionable commercial
practices and false written affirmative statements of fact in the sale of goods as
described herein, which acts are prohibited by the CFA, N.JS.A. § 56:8-2.

101. Pursuant to N.J.S.A. 56:12-17, this class complaint seeks a statutory
penalty of $100 for each class member, as well as actual damages and attorney’s fees
and costs See N.lS.A. § 56:12-17, providing that a seller who violates the
TCCWNA: “shall be liable to the aggrieved consumer for a civil penalty of not less
than $100.00 or for actual damages or both at the election of the consumer, together
with reasonable attorney’s fees and court costs” See also United Consumer Fin.
Servs. Co. v. Carbo, 410 N.J. Super. 280, 310 (App. »Div. 2009), affirming trial
judge’s decision to award the $100 statutory penalty to each class member under
N..[S.A. § l56:12-17 of TCCWNA, stating:

[T]he $100 civil penalty is not unreasonably disproportionate when

viewed in that context whether it is considered with respect to an

individual consumer or the 16,845 consumers whose contracts included

the prohibited fee. We note that when assessing the constitutional

reasonableness of punitive damage awards courts are directed to

consider and give ‘substantial deference’ to judgments made by the

Legislature in fixing civil penalties Nothing about the facts of this case

or the numerosity of this class warrants a more searching evaluation of

the reasonableness of awarding the civil penalty selected by the

Legislature to each member of this class

(internal citations omitted).

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COUNT III

BREACH OF WARRANTY
(On Behalf of the New Jersev Class)

102. Plaintiff repeats and incorporates by reference all preceding paragraphs
as if fully set forth herein,

103.' Defendants sold the Rock ’n Play Sleepers in their regular course of
business Plaintiff and the class members purchased Rock ’n Play Sleepers

104. Defendants made promises and representations in an express warranty
provided to all consumers namely that Rock ’n Play Sleepers were appropriate for
prolonged or overnight sleep, which became the basis of the bargain between
Defendants and Plaintiff and each class member.

105. Defendants gave these express warranties to Plaintiff and each class
member in written form on the packaging of Rock ’n Play Sleepers as well as the
other marketing described herein.

106. Defendants’ written affirmations of fact promises and/or descriptions
as alleged are each a written warranty.

107. Defendants breached their express warranty because the uniform
written statements on each box containing a Rock ’n Play Sleeper, as well as the
other marketing described herein, claiming that they were appropriate for prolonged
or overnight sleep, is false, and Rock ’n Play Sleeper did not contain the properties

Defendants represented Defendants breached the warranty because, contrary to

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their representations the product is not suitable for infants to sleep for prolonged
periods or overnight because it fails to comply with the applicable medical
guidelines and recommendations concerning safe sleep for infants

108. The false information provided was false when the sale took place and
Was undiscoverable to Plaintiff and the class members at the time of purchase,

109. Defendants knew that their representations were false because they was
aware of the AAP’s guidelines and recommendations concerning safe sleep for
infants as well as the refusal of Australian and Canadian regulators to allow the sale
of the product as a “Sleeper” in Australia and Canada.

1 10. In addition, by placing Rock ’n Play Sleeper in the stream of commerce,
and by operation of law and the facts alleged herein, Defendants also impliedly
warrantied to Plaintiff and class members that the product was accurately labeled in
conformance with the law.

111. Defendants have refused to adequately remedy their breaches of
warranty.

112. Defendants’ breaches of express and implied warranty caused Plaintiff
and the Class members to suffer injuries paying for falsely labeled products and
entering into transactions they would not have entered into for the consideration
paid. As a direct and proximate result of Defendants’ breaches of warranty, Plaintiff

and the other Class members have suffered damages and continue to suffer damages

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including economic damages consisting of the difference between the value of a
product suitable for infants to sleep in overnight and the value of the Rock ’n Play
Sleeper as delivered and compensation for exposing their baby to child(ren) to the
risk of positional asphyxia as a result of using the Rock ’n Play Sleeper. Plaintiff
and the Class do not seek damages for any personal injuries that may have occurred
as a result of using this product

113. As a result of the breach of these warranties Plaintiff and the Class
members are entitled to legal and equitable relief including damages costs
attorneys’ fees rescission, and/or other relief as deemed appropriate, for an amount

to compensate them for not receiving the benefit of their bargain.

COUNT IV

BREACH OF IMPLIED CONTRACT THROUGH VIOLATION ()F

THE IMPLIED COVENANT OF GOOD FAITH AND FAIR DEALING
{On Behalf of the New Jersev Class)

114. Plaintiff repeats and realleges the allegations contained in all preceding
paragraphs

115. This claim is asserted on behalf of Plaintiff and the New Jersey Class
By operation of law, there existed an implied contract for the sale of Rock ’n Play
Sleeper between Defendants and Plaintiff and each class member who purchased
either pro duct

116. By operation of law, there existed an implied duty of good faith and fair

dealing in each such contract

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117. By the acts alleged herein, Defendants have violated that duty of good
faith and fair dealing, thereby breaching the implied contract between Defendants
and each class member.

118. As a result of that breach, Plaintiff and each class member suffered

damages
COUNT V

VIOLATION OF THE MAGNUSON-MOSS WARRANTY ACT, 15 U.S.C. §
2301, et seq.

(On Behalf of the Nationwide Class)

119. Plaintiff repeats and realleges the allegations contained in in all
preceding paragraphs as if fully set forth herein.

120. The sale of the Rock ’n Play Sleepers was subject to the provisions and
regulations of the Magnuson-Moss Warranty Act, 15 U.S.C. § 2301, et seq.

121. The Rock ’n Play Sleepers are “consumer products” as defined in the
Magnuson-Moss Warranty Act 15 U.S.C. § 2301(1).

122. Plaintiff and the other Nationwide Class members are “consumers” as
defined by the Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(3).

123. Defendants are “suppliers” and “warrantors” as defined by the
Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(4)-(5).

124. The express warranties in Defendants’ marketing and advertising

provided by Defendants are “written warranties” as defined in the Magnuson-Moss

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Warranty Act, 15 U.S.C. § 2301(6). The Rock ’n Play Sleepers’ implied warranties
are come under 15 U.S.C. § 2301(7).

125. Defendants breached these warranties as further described above, by
selling the Rock ’n Play Sleepers as “Sleepers” and not disclosing their defective
condition, and by providing Rock ’n Play Sleepers not in merchantable condition
and not fit for the ordinary purpose for which baby sleepers are u`sed. They are also
not fit for the specific purposes for which Defendants sold them to Class members
and for which Class members purchased them.

126. Privity is not required in this case because Plaintiff and the other
Nationwide Class members are intended third-party beneficiaries of contracts
between Defendants and those who sell its products specifically, they are the
intended beneficiaries of Defendants’ express and implied'warranties The vendors
were not intended to be the ultimate consumers of the Rock ’n Play Sleepers and
have no rights under the warranty agreements provided with the Rock ’n Play
Sleepers; the warranty agreements were designed for and intended to benefit the
ultimate consumers only. _ Finally, privity is also not required because the Rock ’n
Play Sleepers are dangerous instrumentalities due to the aforementioned defects and
nonconformities.

127. Requiring an informal dispute settlement procedure, or affording

Defendants a reasonable opportunity to cure its breach of written warranties is

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unnecessary and futile. At the time of sale or lease of each Rock ’n Play, Defendants
knew, should have known, or was reckless in not knowing, of its misrepresentations
concerning the Rock ’n Play Sleepers’ inability to provide a safe sleeping
environment but nonetheless failed to rectify the situation and/or disclose the truth.
Under the circumstances the remedies available under any informal settlement
procedure would be inadequate and any requirement - whether under the Magnuson-
Moss Warranty Act or otherwise - that Plaintiff resort to an informal dispute
resolution procedure and/or afford Defendants a reasonable opportunity to cure its
breach of warranties is excused and thereby deemed satisfied

128. Plaintiff and the other members of the Nationwide Class would suffer
economic hardship if they returned their Rock ’n Play Sleepers but did not receive
the return of all payments made by them. Because Defendants are refusing to
acknowledge any revocation of acceptance and retuni immediately any payments
made, Plaintiff and the other Nationwide Class members have not re-accepted its
Rock ’n Play Sleepers by retaining them.

129. Plaintiff and the other Nationwide Class members have been damaged
as a result of the wrongful conduct complained of herein, Said conduct continues
and the harm or risk of harm is ongoing

130. The amount in controversy exceeds the statutory minimums set forth at

15 U.S.C. § 2310(d)(3). Each Plaintiff" s individual claim is equal to or larger than

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$25 and the cumulative amount in controversy (excluding interest and costs) exceeds
$50,000.

131. As a result of Defendants’ violations of the Magnuson-Moss Warranty
Act and its express and implied warranties with consumers Plaintiff and the other
members of the Nationwide Class have been damaged in an amount to be determined

at trial.

COUNT VI
'UNJUST ENRICHMENT/QUASI-

CONTRACT/DISGORGEMENT/RESTITUTION
(On Behalf of the Nationwide Class and the New Jersey Class)

132. Plaintiff repeats and incorporates by reference all preceding paragraphs
as if fully set forth herein.

133. Plaintiff pleads this claim for relief in the alternative to the contract
claims set forth above.

134. Plaintiff and the class members have conferred substantial benefits on
Defendants by purchasing Rock ’n Play Sleeper, and Defendants have knowingly
and willingly accepted and enjoyed these benefits

135. Defendants either knew or should have known that the payments

rendered by Plaintiff and the class members were given and received with the

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expectation that the product would be as represented and warranted F or Defendants
to retain the benefit of the payments under these circumstances is inequitable

136. Through deliberate misrepresentations or omissions in connection with
the advertising, marketing, promotion, and sale of Defendants’ Rock ’n Play Sleeper,
including representing that_the products had that they were appropriate for prolonged
or overnight sleep, Defendants each reaped benefits which resulted in each
Defendant wrongfully receiving profits

137. Equity demands disgorgement of Defendants’ ill-gotten gains
Defendants will be unjustly enriched unless Defendants are ordered to disgorge
those profits for the benefit of Plaintiff and the class members

138. As a direct and proximate result of Defendants’ wrongful conduct and
unjust enrichment Plaintiff and the class members are entitled to restitution from
Defendants and institution of a constructive trust disgorging all profits benefits and
other compensation obtained by Defendants through this inequitable conduct

139. Under the circumstances it would be against equity and good
conscience to permit Defendants to retain the ill-gotten benefits they received from
Plaintiff and the Class as the result of its deceptive marketing and advertising
practices Thus it would'be inequitable for Defendants to retain the benefit without

restitution to Plaintiff and the Class

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REOUEST FOR RELIEF

WHEREFORE, Plaintiff respectfully requests relief against Defendants as set
forth below:

1. Certifying the proposed Nationwide Class and the New Jersey Class;

2. Appointing Plaintiff as Class representative and her undersigned
counsel as Class counsel;

3. Awarding Plaintiff and the proposed Class members damages

4. Awarding punitive damages to the extent permitted under law;

5. Awarding restitution and disgorgement of Defendants’ revenues to
Plaintiff and the proposed Class members

6. Awarding declaratory relief as permitted by equity, including directing
Defendants to identify, with Court supervision, the victims of its conduct and pay
them restitution and disgorgement of all monies acquired by Defendants by means
of any act or practice declared by the Court to be unlawful;

7. Ordering Defendants to issue a recall for the product;

8. Ordering Defendants to change the statements on the product’s
packaging and disclosures/wamings;

9. Ordering Defendants to engage in a corrective advertising campaign;

10. Awarding attorneys’ fees and costs; and

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11. Granting such other and further relief as the Court deems just and

proper.

JURY TRIAL DEMANDED

Plaintiff demands a jury trial on all issues so triable.

Dated: April 1 1, 2018

by:

  
   

 

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steph&$. DeNiais sD-ooié\)
Joseph Osefchen

Shane T. Prince

5 Greentree Centre

525 Route 73 North, Suite 410
Marlton, NJ 08053

Telephone: 856-797-9951

Fax: 856-797-9978

Email: sdenittis@denittislaw.com

Attorneys for Plaintiff and the
Proposed Class

Forchelli Deegan Terrana

A Limited Liability Partnership
Elbert F. Nasis

333 Earle Ovington Blvd., Suite 1010
Uniondale, New York 1 1553
Telephone: 5 16-248-1700

Fax: 866-644-6119

E-Mail: ENasis@Forchel|iLaw.com

Additional Counsel for Plaintiff

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CERTIFICATION PURSUANT TO N.J.S.A. 56:8-1 et seq.
The undersigned hereby certify that a copy of this complaint has been

forwarded to the Attorney General of the State of New Jersey.

DeNITTIS OSEFCHEN PRINCE, P.C.

BYZ }/'/
stephen P. DeNiuis, Esq. si) 0016
5 Greentree Centre
525 Route 73 North, Suite 410
Marlton, NJ 08053
Tel.: (856) 797-9951
Fax: (856) 797-9978

Dated: April 11, 2019 Attorneys for Plainti]j‘ and the
Proposed Class

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